Case 1:18-cv-02192-HG-PK   Document 84-20   Filed 03/04/22   Page 1 of 26 PageID #:
                                     1465




                       Exhibit 18
Case 1:18-cv-02192-HG-PK      Document 84-20       Filed 03/04/22    Page 2 of 26 PageID #:
                                        1466



     GAZA-JERICHO AGREEMENT

    ANNEX IV
    Protocol on Economic Relations between the Government of the
    State of Israel and the P.L.O., representing the Palestinian people

    Paris, April 29, 1994

    PREAMBLE

    The two parties view the economic domain as one of the cornerstone in their
    mutual relations with a view to enhance their interest in the achievement of a just,
    lasting and comprehensive peace. Both parties shall cooperate in this field in
    order to establish a sound economic base for these relations, which will be
    governed in various economic spheres by the principles of mutual respect of
    each other's economic interests, reciprocity, equity and fairness.

    This protocol lays the groundwork for strengthening the economic base of the
    Palestinian side and for exercising its right of economic decision making in
    accordance with its own development plan and priorities. The two parties
    recognise each other's economic ties with other markets and the need to create a
    better economic environment for their peoples and individuals.


    Article I
    FRAMEWORK AND SCOPE OF THIS PROTOCOL

       1. This protocol establishes the contractual agreement that will govern the
          economic relations between the two sides and will cover the West Bank
          and the Gaza Strip during the interim period. The implementation will be
          according to the stages envisaged in the Declaration of Principles on
          Interim Self Government Arrangements signed in Washington D.C. on
          September 13, 1993 and the Agreed Minutes thereto. It will therefore
          begin in the Gaza Strip and the Jericho Area and at a later stage will also
          apply to the rest of the West Bank, according to the provisions of the
          Interim Agreement and to any other agreed arrangements between the
          two sides.
       2. This Protocol, including its Appendixes, will be incorporated into the
          Agreement on the Gaza Strip and the Jericho Area (in this Protocol - the
          Agreement), will be an integral part thereof and interpreted accordingly.
          This paragraph refers solely to the Gaza Strip and the Jericho Area.
       3. This Protocol will come into force upon the signing of the Agreement.
       4. For the purpose of this Protocol, the term "Areas" means the areas under
          the jurisdiction of the Palestinian Authority, according to the provisions of
          the Agreement regarding territorial jurisdiction. The Palestinian Jurisdiction
          in the subsequent agreements could cover areas, spheres or functions
Case 1:18-cv-02192-HG-PK      Document 84-20       Filed 03/04/22    Page 3 of 26 PageID #:
                                        1467



          according to the Interim Agreement. Therefore, for the purpose of this
          Protocol, whenever applied, the term "Areas" shall be interpreted to mean
          functions and spheres also, as the case may be, with the necessary
          adjustments.


    Article II
    THE JOINT ECONOMIC COMMITTEE

       1. Both parties will establish a Palestinian-Israeli Joint Economic Committee
          (hereinafter - the JEC) to follow up the implementation of this Protocol and
          to decide on problems related to it that may arise from time to time. Each
          side may request the review of any issue related to this Agreement by the
          JEC.
       2. The JEC will serve as the continuing committee for economic cooperation
          envisaged in Annex III of the Declaration of Principles.
       3. The JEC will consist of an equal number of members from each side and
          may establish sub-committees specified in this Protocol.
          A sub-committee may include experts as necessary.
       4. The JEC and its sub-committees shall reach their decisions by agreement
          and shall determine their rules of procedure and operation, including the
          frequency and place or places of their meetings.


    Article III
    IMPORT TAXES AND IMPORT POLICY

       1. The import and customs policies of both sides will be according to the
          principles and arrangements detailed in this Article.
       2.
              a. The Palestinian Authority will have all powers and responsibilities in
                 the sphere of import and customs policy and procedures with
                 regard to the following:
                     1. Goods on List Al, attached hereto as Appendix I locally-
                        produced in Jordan and in Egypt particularly and in the other
                        Arab countries, which the Palestinians will be able to import
                        in quantities agreed upon by the two sides up to the
                        Palestinian market needs as estimated according to para 3
                        below.
                     2. Goods on List A2, attached hereto as Appendix II, from the
                        Arab, Islamic and other countries, which the Palestinians will
                        be able to import in quantities agreed upon by the two sides
                        up to the Palestinian market needs as estimated according
                        to para 3 below.
              b. The import policy of the Palestinian Authority for Lists Al and A2 will
                 include independently determining and changing from time to time
Case 1:18-cv-02192-HG-PK      Document 84-20       Filed 03/04/22     Page 4 of 26 PageID #:
                                        1468



                  the rates of customs, purchase tax, levies, excises and other
                  charges, the regulation of licensing requirements and procedures
                  and of standard requirements. The valuation for custom purposes
                  will be based upon the GATT 1994 agreement as of the date it will
                  be introduced in Israel, and until then - on the Brussels Definition of
                  Valuation (BDV) system. The classification of goods will be based
                  on the principles of "the Harmonized Commodity Description and
                  Coding System". Concerning imports referred to in Article VII of this
                  Protocol (Agriculture), the provisions of that Article will apply.
       3. For the purposes of para 2(a) above, the Palestinian market needs for
          1994 will be estimated by a sub-committee of experts. These estimates
          will be based on the best available data regarding past consumption,
          production, investment and external trade of the Areas. The sub-
          committee will submit its estimate within three months from the signing of
          the Agreement. These estimates will be reviewed and updated every six
          months by the sub-committee, on the basis of the best data available
          regarding the latest period for which relevant data are available, taking
          into consideration all relevant economic and social indicators. Pending an
          agreement on the Palestinian market needs, the previous period's
          estimates adjusted for population growth and rise in per-capita GNP in the
          previous period, will serve as provisional estimate.
       4. The Palestinian Authority will have all powers and responsibilities to
          independently determine and change from time to time the rates of
          customs, purchase taxes; levies, excises and other charges on the goods
          on List B, attached hereto as Appendix III, of basic food items and other
          goods for the Palestinian economic development program, imported by
          the Palestinians to the Areas.
       5.
              a. With respect to all goods not specified in Lists Al, A2 and B, and
                  with respect to quantities exceeding those determined in
                  accordance with paras 2(a) & 3 above (hereinafter - the Quantities),
                  the Israeli rates of customs, purchase tax, levies, excises and other
                  charges, prevailing at the date of signing of the Agreement , as
                  changed from time to time, shall serve as the minimum basis for the
                  Palestinian Authority. The Palestinian Authority may decide on any
                  upward changes in the rates on these goods and exceeding
                  quantities when imported by the Palestinians to the Areas.
              b. With respect to all goods not specified in Lists A1 and A2, and with
                  respect to quantities exceeding the Quantities, Israel and the
                  Palestinian Authority will employ for all imports the same system of
                  importation, as stipulated in para 10 below, including inter alia
                  standards, licensing, country of origin, valuation for customs
                  purposes etc.
       6. Each side will notify the other side immediately of changes made in rates
          and in other matters of import policy, regulations and procedures,
          determined by it within its respective powers and responsibilities as
Case 1:18-cv-02192-HG-PK      Document 84-20       Filed 03/04/22    Page 5 of 26 PageID #:
                                        1469



           detailed in this Article. With regard to changes which do not require
           immediate application upon decision, there will be a process of advance
           notifications and mutual consultations which will take into consideration all
           aspects and economic implications.
       7. The Palestinian Authority will levy VAT at one rate on both locally
           produced goods and services and on imports by the Palestinians (whether
           covered by the three Lists mentioned above or not), and may fix it at the
           level of 15% to 16%.
       8. Goods imported from Jordan, Egypt and other Arab countries according to
           para 2(a)(1) above (List Al) will comply with rules of origin agreed upon by
           a joint sub-committee within three months of the date of the signing of the
           Agreement. Pending an agreement, goods will be considered to have
           been "locally produced" in any of those countries if they conform with all
           the following:
               a.
                      i.  They have been wholly grown, produced, or manufactured in
                          that country, or have been substantially transformed there
                          into new or different goods, having a new name, character,
                          or use, distinct from the goods or materials from which they
                          were so transformed;
                     ii.  They have been imported directly from the said country;
                    iii.  The value or the costs of the materials produced in that
                          country, plus the direct processing costs in it, do not fall
                          short of 30 percent of the export value of the goods. This
                          rate may be reviewed by the joint committee mentioned in
                          para 16 a year after the signing of the Agreement.
                    iv.   The goods are accompanied by an internationally
                          recognized certificate of origin;
                     v.   No goods will be deemed as substantially new or different
                          goods, and no material will be eligible for inclusion as
                          domestic content, by virtue of having merely undergone
                          simple combining or packaging, or dilution with water or
                          other substances, which do not materially alter the
                          characteristics of the said goods.
       9. Each side will issue import licences to its own importers, subject to the
           principles of this Article and will be responsible for the implementation of
           the licensing requirements and procedures prevailing at the time of the
           issuance of the licenses. Mutual arrangements will be made for the
           exchange of information relevant to licensing matters.
       10. Except for the goods on Lists Al and A2 and their Quantities - in which the
           Palestinian Authority has all powers and responsibilities, both sides will
           maintain the same import policy (except for rates of import taxes and other
           charges for goods in List B) and regulations including classification,
           valuation and other customs procedures, which are based on the
           principles governing international codes, and the same policies of import
           licensing and of standards for imported goods, all as applied by Israel with
Case 1:18-cv-02192-HG-PK        Document 84-20      Filed 03/04/22    Page 6 of 26 PageID #:
                                          1470



             respect to its importation. Israel may from time to time introduce changes
             in any of the above, provided that changes in standard requirements will
             not constitute a non-tariff-barrier and will be based on considerations of
             health, safety and the protection of the environment in conformity with
             Article 2.2. of the Agreement on Technical Barriers to trade of the Final
             Act of the Uruguay Round of Trade Negotiations. Israel will give the
             Palestinian Authority prior notice of any such changes, and the provisions
             of para 6 above will apply.
       11.
                a. The Palestinian Authority will determine its own rates of customs
                   and purchase tax on motor vehicles imported as such, to be
                   registered with the Palestinian Authority. The vehicle standards will
                   be those applied at the date of the signing of the Agreement as
                   changed according to para 10 above. However, the Palestinian
                   Authority may request, through the sub-committee on
                   transportation, that in special cases different standards will apply.
                   Used motor vehicles will be imported only if they are passenger
                   cars or dual-purpose passenger cars of a model of no more than
                   three years prior to the importation year. The sub-committee on
                   transportation will determine the procedures for testing and
                   confirming that such used cars comply with the standards'
                   requirements for that model year. The issue of importing
                   commercial vehicles of a model prior to the importation year will be
                   discussed in the joint sub-committee mentioned in para 16 below.
                b. Each side may determine the terms and conditions for the transfer
                   of motor vehicles registered in the other side to the ownership or
                   use of a resident of its own side, including the payment of the
                   difference of import taxes, if any, and the vehicle having been
                   tested and found compatible with the standards required at that
                   time by its own registration administration, and may prohibit transfer
                   of vehicles.
       12.
                a. Jordanian standards, as specified in the attached Appendix I, will
                   be acceptable in importing petroleum products into the Areas, once
                   they meet the average of the standards existing in the European
                   Union countries, or the USA standards, which parameters have
                   been set at the values prescribed for the geographical conditions of
                   Israel, the Gaza Strip and the West Bank. Cases of petroleum
                   products which do not meet these specifications will be referred to
                   a joint experts' committee for a suitable solution. The committee
                   may mutually decide to accept different standards for the
                   importation of gasoline which meet the Jordanian standards even
                   though, in some of their parameters, they do not meet the
                   European Community or USA standards. The committee will give
                   its decision within six months. Pending the committee's decision,
                   and for not longer than six months of the signing of the Agreement,
Case 1:18-cv-02192-HG-PK      Document 84-20       Filed 03/04/22     Page 7 of 26 PageID #:
                                        1471



                   the Palestinian Authority may import to the Areas, gasoline for the
                   Palestinian market in the Areas, according to the needs of this
                   market, provided that:
                     0. this gasoline is marked in a distinctive colour to differentiate
                           it from the gasoline marketed in Israel; and
                     1. the Palestinian Authority will take all the necessary steps to
                           ensure that this gasoline is not marketed in Israel.
               b. The difference in the final price of gasoline to consumers in Israel
                   and to consumers in the Areas, will not exceed 15% of the official
                   final consumer price in Israel. The Palestinian Authority has the
                   right to determine the prices of petroleum products, other than
                   gasoline, for consumption in the Areas.
               c. If Egyptian gasoline standards will comply with the conditions of
                   sub-para (a) above, the importation of Egyptian gasoline will also
                   be allowed.
       13. In addition to the points of exit and entry designated according to the
           Article regarding Passages in Annex I of the Agreement for the purpose of
           export and import of goods, the Palestinian side has the right to use all
           points of exit and entry in Israel designated for that purpose. The import
           and export of the Palestinians through the points of exit and entry in Israel
           will be given equal trade and economic treatment.
       14. In the entry points of the Jordan River and the Gaza Strip:
               a. Freight shipment
                   The Palestinian Authority will have full responsibility and powers in
                   the Palestinian customs points (freight-area) for the implementation
                   of the agreed upon customs and importation policy as specified in
                   this protocol, including the inspection and the collection of taxes
                   and other charges, when due.
                   Israeli customs officials will be present and will receive from the
                   Palestinian customs officials a copy of the necessary relevant
                   documents related to the specific shipment and will be entitled to
                   ask for inspection in their presence of both goods and tax
                   collection.
                   The Palestinian customs officials will be responsible for the
                   handling of the customs procedure including the inspection and
                   collection of due taxes.
                   In case of disagreement on the clearance of any shipment
                   according to this Article, the shipment will be delayed for inspection
                   for a maximum period of 48 hours during which a joint sub-
                   committee will resolve the issue on the basis of the relevant
                   provisions of this Article. The shipment will be released only upon
                   the sub-committee's decision.
               b. Passengers customs lane

                 Each side will administer its own passengers customs procedures,
                 including inspection and tax collection. The inspection and
Case 1:18-cv-02192-HG-PK      Document 84-20       Filed 03/04/22    Page 8 of 26 PageID #:
                                        1472



                 collection of taxes due in the Palestinian customs lane will be
                 conducted by customs officials of the Palestinian Authority.
                 Israeli customs officials will be invisibly present in the Palestinian
                 customs lane and entitled to request inspection of goods and
                 collection of taxes when due. In the case of suspicion, the
                 inspection will be carried out by the Palestinian official in a separate
                 room in the presence of the Israeli customs official.

       15. The clearance of revenues from all import taxes and levies, between Israel
           and the Palestinian Authority, will be based on the principle of the place of
           final destination. In addition, these tax revenues will be allocated to the
           Palestinian Authority even if the importation was carried out by Israeli
           importers when the final destination explicitly stated in the import
           documentation is a corporation registered by the Palestinian Authority and
           conducting business activity in the Areas. This revenue clearance will be
           effected within six working days from the day of collection of the said taxes
           and levies.
       16. The Joint Economic Committee or a sub-committee established by it for
           the purposes of this Article will deal inter alia with the following:
               1. Palestinian proposals for addition of items to Lists Al, A2 and B.
                   Proposals for changes in rates and in import procedures,
                   classification, standards and licensing requirements for all other
                   imports;
               2. Estimate the Palestinian market needs, as mentioned in para 3
                   above;
               3. Receive notifications of changes and conduct consultations, as
                   mentioned in para 6 above;
               4. Agree upon the rules of origin as mentioned in para 8 above, and
                   review their implementation;
               5. Coordinate the exchange of information relevant to licensing
                   matters as mentioned in para 9 above;
               6. Discuss and review any other matters concerning the
                   implementation of this Article and resolve problems arising
                   therefrom.
       17. The Palestinian Authority will have the right to exempt the Palestinian
           returnees who will be granted permanent residency in the Areas from
           import taxes on personal belongings including house appliances and
           passenger cars as long as they are for personal use.
       18. The Palestinian Authority will develop its system for temporary entry of
           needed machines and vehicles used for the Palestinian Authority and the
           Palestinian economic development plan.
           Concerning other machines and equipment, not included in Lists Al, A2
           and B, the temporary entry will be part of the import policy as agreed in
           para 10 above, until the joint sub-committee mentioned in para 16 decides
           upon a new system proposed by the Palestinian Authority. The temporary
           entry will be coordinated through the joint sub-committee.
Case 1:18-cv-02192-HG-PK      Document 84-20      Filed 03/04/22    Page 9 of 26 PageID #:
                                        1473



       19. Donations in kind to the Palestinian Authority will be exempted from
           customs and other import taxes if destined and used for defined
           development projects or non-commercial humanitarian purposes. The
           Palestinian Authority will be responsible exclusively for planning and
           management of the donors' assistance to the Palestinian people. The
           Joint Economic Committee will discuss issues pertaining to the relations
           between the provisions in this Article and the implementation of the
           principles in the above paragraph.


    Article IV
    MONETARY AND FINANCIAL ISSUES

       1. The Palestinian Authority will establish a Monetary Authority (PMA) in the
          Areas. The PMA will have the powers and responsibilities for the
          regulation and implementation of the monetary policies within the
          functions described in this Article.
       2. The PMA will act as the Palestinian Authority's official economic and
          financial advisor.
       3. The PMA will act as the Palestinian Authority's and the public sector
          entities' sole financial agent, locally and internationally.
       4. The foreign currency reserves (including gold) of the Palestinian Authority
          and all Palestinian public sector entities will be deposited solely with the
          PMA and managed by it.
       5. The PMA will act as the lender of last resort for the banking system in the
          Areas.
       6. The PMA will authorize foreign exchange dealers in the Areas and will
          exercise control (regulation and supervision) over foreign exchange
          transactions within the Areas and with the rest of the world.
       7.
              a. The PMA will have a banking supervision department that will be
                  responsible for the proper functioning, stability, solvency and
                  liquidity of the banks operating in the Areas.
              b. The banking supervision department will predicate its supervision
                  on the international principles and standards reflected in
                  international conventions and especially on the principles of the
                  "Basle Committee".
              c. The supervision department will be charged with the general
                  supervision of every such bank, including:
                       The regulation of all kinds of banking activities, including
                          their foreign activities;
                       The licensing of banks formed locally and of branches,
                          subsidiaries, joint ventures and representative offices of
                          foreign banks and the approval of controlling shareholders;
                       The supervision and inspection of banks.
Case 1:18-cv-02192-HG-PK       Document 84-20 Filed 03/04/22         Page 10 of 26 PageID
                                       #: 1474



    • The PMA will relicense each of the five branches of the Israeli banks operating
    at present in the Gaza Strip and the West Bank, as soon as its location or the
    authorities regarding it come under the jurisdiction of the Palestinian Authority.
    These branches will be required to comply with the general rules and regulations
    of the PMA concerning foreign banks, based on the "Basle Concordat". Para I0
    d, e, and f below will apply to these branches.

       a. • Any other Israeli bank wishing to open a branch or a subsidiary in the
          Areas will apply for a license to the PMA and will be treated equally to
          other foreign banks, provided that the same will apply to the Palestinian
          banks wishing to open a branch or a subsidiary in Israel.
       b. Granting of a license by both authorities will be subject to the following
          arrangements based on the "Basle Concordat" valid on the date of signing
          of the Agreement and to the host authority's prevailing general rules and
          regulations concerning opening of branches and subsidiaries of foreign
          banks.
          In this para 10 "host authority" and "home authority" apply only to the Bank
          of Israel (BOI) and the PMA.
       c. A bank wishing to open a branch or establish a subsidiary will apply to the
          host authority, having first obtained the approval of its home authority. The
          host authority will notify the home authority of the terms of the license, and
          will give its final approval unless the home authority objects.
       d. The home authority will be responsible for the consolidated and
          comprehensive supervision of banks, inclusive of branches and
          subsidiaries in the area under the jurisdiction of the host authority.
          However, the distribution of supervision responsibilities between the home
          and the host authorities concerning subsidiaries will be according to the
          "Basle Concordat".
       e. The host authority will regularly examine the activities of branches and
          subsidiaries in the area under its jurisdiction. The home authority will have
          the right to conduct on site examinations in the branches and subsidiaries
          in the host area. However, the supervision responsibilities of the home
          authority concerning subsidiaries will be according to the "Basle
          Concordat".
          Accordingly, each authority will transfer to the other authority copies of its
          examination reports and any information relevant to the solvency, stability
          and soundness of the banks, their branches and subsidiaries.
       f. The BOI and the PMA will establish a mechanism for cooperation and for
          the exchange of information on issues of mutual interest.

       a. • The New Israeli Sheqel (NIS) will be one of the circulating currencies in
          the Areas and will legally serve there as means of payment for all
          purposes including official transactions. Any circulating currency, including
          the NIS, will be accepted by the Palestinian Authority and by all its
          institutions, local authorities and banks, when offered as a means of
          payment for any transaction.
Case 1:18-cv-02192-HG-PK       Document 84-20 Filed 03/04/22          Page 11 of 26 PageID
                                       #: 1475



       b. Both sides will continue to discuss, through the JEC, the possibility of
          introducing mutually agreed Palestinian currency or temporary alternative
          currency arrangements for the Palestinian Authority.

       a. • The liquidity requirements on all deposits in banks operating in the
          Areas will be determined and announced by the PMA.
       b. Banks in the Areas will accept NIS deposits. The liquidity requirements on
          the various kinds of NIS deposits (or deposit linked to the NIS) in banks
          operating in the Areas will not be less than 4% to 8%, according to the
          type of deposits. Changes of over 1% in the liquidity requirements on NIS
          deposits (or deposits linked to the NIS) in Israel will call for corresponding
          changes in the above mentioned rates.
       c. The supervision and inspection of the implementation of all liquidity
          requirements will be carried out by the PMA.
       d. The reserves and the liquid assets required according to this paragraph
          will be deposited at the PMA according to rules and regulations
          determined by it. Penalties for non compliance with the liquidity
          requirements will be determined by the PMA.

    • The PMA will regulate and administer a discount window system and the
    supply of temporary finance for banks operating in the Areas.

       a. • The PMA will establish or license a clearing house in order to clear
          money orders between the banks operating in the Areas, and with other
          clearing houses.
       b. The clearing of money orders and transactions between banks operating
          in the Areas and banks operating in Israel will be done between the Israeli
          and the Palestinian clearing houses on same working day basis,
          according to agreed arrangements.

    • Both sides will allow correspondential relations between each others' banks.
    • The PMA will have the right to convert at the BOI excess NIS received from
    banks operating in the Areas into foreign currency, in which the BOI trades in the
    domestic inter-bank market, up to the amounts determined per period, according
    to the arrangements detailed in para 16 below.

       a. • The excess amount of NIS, due to balance of payments flows, that the
          PMA will have the right to convert into foreign currency, will be equal to:
             1. Estimates of all Israeli "imports" of goods and services from the
                Areas, valued at market prices (inclusive of taxes), which were paid
                for in NIS, less:
                   i.   the taxes collected by the Palestinian Authority on all Israeli
                        "imports" from the Areas and rebated to Israel in NIS, and
                  ii.   the taxes collected by Israel on all Israeli "imports" from the
                        Areas and included in their market value, and not rebated to
                        the Palestinian Authority,
Case 1:18-cv-02192-HG-PK           Document 84-20 Filed 03/04/22          Page 12 of 26 PageID
                                           #: 1476



                     minus

                 2. Estimates of all Israeli "exports" of goods and services to the Areas,
                    valued at market prices (inclusive of taxes), which were paid for in
                    NIS, less
                       i.  the taxes collected by Israel on such "exports" and rebated
                           to the Palestinian Authority, and
                      ii.  the taxes collected by the Palestinian Authority on such
                           "exports" and included in their market value, and not rebated
                           to Israel;

                     plus

                  3. The accumulated net amounts of foreign currency converted
                     previously into NIS by the PMA, as recorded in the BOI Dealing
                     Room.
           b. The said flows and amounts will be calculated as of the date of the signing
              of the Agreement.

    Notes to para 16:

      i.      The estimates of the said "exports and imports" of goods and services will
              include inter alia labor services, NIS expenditure of tourists and Israelis in
              the Areas and NIS expenditure of Palestinians of the Areas in Israel.
     ii.      Taxes and pension contributions on "imports" of labor services, paid to
              "importing" side and rebated to the "exporting" one, will not be included in
              the estimates of the sums to be converted, as the "exports'" earnings of
              labor services are recorded in the statistics inclusive of them, although
              they do not accrue to the individuals supplying them.

    • The PMA and the BOI will meet annually to discuss and determine the annual
    amount of convertible NIS during the following calendar year and will meet semi-
    annually to adjust the said amount. The amounts determined annually and
    adjusted semi-annually will be based on data and estimates regarding the past
    and on forecasts for the wi following period, according to the formula mentioned
    in para 16. The first meeting will be as soon as possible within three months after
    the date of the signing of the Agreement.

           a. • The exchange of foreign currency for NIS and vice-versa by the PMA
              will be carried out through the BOI Dealing Room, at the market exchange
              rates.
           b. The BOI will not be obliged to convert in any single month more than 1/5
              of the semi-annual amount, as mentioned in para 17.
           c. There will be no ceiling on the annual foreign currency conversions by the
              PMA into NIS. However, in order to avoid undesirable fluctuations in the
              foreign exchange market, monthly ceilings of such conversions will be
Case 1:18-cv-02192-HG-PK      Document 84-20 Filed 03/04/22           Page 13 of 26 PageID
                                      #: 1477



         agreed upon in the annual and semi-annual meetings referred to in para
         17.
      d. Banks in the Areas will convert NIS into other circulating currencies and
         vice-versa.
      e. The Palestinian Authority will have the authorities, powers and
         responsibilities regarding the regulation and supervision of capital
         activities in the Areas, including the licensing of capital market institutions,
         finance companies and investment funds.


    Article V
    DIRECT TAXATION

      1. Israel and the Palestinian Authority will each determine and regulate
         independently its own tax policy in matters of direct taxation, including
         income tax on individuals and corporations, property taxes, municipal
         taxes and fees.
      2. Each tax administration will have the right to levy the direct taxes
         generated by economic activities within its area.
      3. Each tax administration may impose additional taxes on residents within
         its area on (individuals and corporations) who conduct economic activities
         in the other side's area.
      4. Israel will transfer to the Palestinian Authority a sum equal to:
             a. 75% of the income taxes collected from Palestinians from the Gaza
                Strip and the Jericho Area employed in Israel.
             b. The full amount of income taxes collected from Palestinians from
                the Gaza Strip and Jericho Area employed in the settlements.
      5. The two sides will agree on a set of procedures that will address all issues
         concerning double taxation.


    Article VI
    INDIRECT TAXES ON LOCAL PRODUCTION

      1. The Israel and the Palestinian tax administrations will levy and collect VAT
         and purchase taxes on local production, as well as any other indirect
         taxes, in their respective areas.
      2. The purchase tax rates within the jurisdiction of each tax administration
         will be identical as regards locally produced and imported goods.
      3. The present Israeli VAT rate is 17%. The Palestinian VAT rate will be 15%
         to 16%.
      4. The Palestinian Authority will decide on the maximum annual turnover for
         businesses under its jurisdiction to be exempt from VAT, within an upper
         limit of 12,000 US $.
      5. The VAT on purchases by businesses registered for VAT purposes will
         accrue to the tax administration with which the respective business is
Case 1:18-cv-02192-HG-PK      Document 84-20 Filed 03/04/22          Page 14 of 26 PageID
                                      #: 1478



         registered.
         Businesses will register for VAT purposes with the tax administration of
         the side of their residence, or on the side of their ongoing operation.
         There will be clearance of VAT revenues between the Israeli and
         Palestinian VAT administrations on the following conditions:
            a. The VAT clearance will apply to VAT on transactions between
                businesses registered with the VAT administration of the side in
                which they reside.
            b. The following procedures will apply to clearance of VAT revenues
                accruing from transactions by businesses registered for VAT
                purposes:
                    1. To be acceptable for clearance purposes, special invoices,
                       clearly marked for this purpose, will be used for transactions
                       between businesses registered with the different sides.
                    2. The invoices will be worded either in both Hebrew and
                       Arabic or in English and will be filled out in any of these three
                       languages, provided that the figures are written in "Arabic"
                       (not Hindi) numerals.
                    3. For the purpose of tax rebates, such invoices will be valid for
                       six months from their date of issue.
                    4. Representatives of the two sides will meet once a month, on
                       the 20th day of the month, to present each other with a list of
                       invoices submitted to them for tax rebate, for VAT clearance.
                       This list will include the following details regarding each
                       invoice:
                            a. The number of the registered business issuing it;
                            b. The name of the registered business issuing it;
                            c. The number of the invoice;
                            d. The date of issue;
                            e. The amount of the invoice;
                            f. The name of the recipient of the invoice.
                    5. The clearance claims will be settled within 6 days from the
                       meeting, through a payment by the side with the net balance
                       of claims against it, to the other side.
                    6. Each side will provide the other side, upon demand, with
                       invoices for verification purposes. Each tax administration
                       will be responsible for providing invoices for verification
                       purposes for 6 months after receiving them.
                    7. Each side will take the necessary measure to verify the
                       authenticity of the invoices presented to it for clearance by
                       the other side.
                    8. Claims for VAT clearance which will not be found valid will
                       be deducted from the next clearance payment.
                    9. Once an inter-connected computer system for tax rebates to
                       businesses and for VAT clearance between the two sides is
Case 1:18-cv-02192-HG-PK      Document 84-20 Filed 03/04/22          Page 15 of 26 PageID
                                      #: 1479



                         operational, it will replace the clearance procedures
                         specified in sub-paras (4) - (8).
                    10. The two tax administrations will exchange lists of the
                         businesses registered with them and will provide each other
                         with the necessary documentation, if required, for the
                         verification of transactions.
                    11. The two sides will establish a sub-committee which will deal
                         with the implementation arrangements regarding the
                         clearance of VAT revenues set above.
       6. VAT paid by not-for-profit Palestinian organizations and institutions,
          registered by the Palestinian Authority, on transactions in Israel, will
          accrue to the Palestinian tax administration. The clearance system set out
          in para 5 will apply to these organizations and institutions.


    Article VII
    LABOR

       1. Both sides will attempt to maintain the normality of movement of labor
          between them, subject to each side's right to determine from time to time
          the extent and conditions of the labor movement into its area. If the normal
          movement is suspended temporarily by either side, it will give the other
          side immediate notification, and the other side may request that the matter
          be discussed in the Joint Economic Committee.
          The placement and employment of workers from one side in the area of
          the other side will be through the employment service of the other side
          and in accordance with the other sides' legislation. The Palestinian side
          has the right to regulate the employment of Palestinian labor in Israel
          through the Palestinian employment service, and the Israeli Employment
          Service will cooperate and coordinate in this regard.
       2.
              a. Palestinians employed in Israel will be insured in the Israeli social
                 insurance system according to the National Insurance Law for
                 employment injuries that occur in Israel, bankruptcy of employers
                 and maternity leave allowance.
              b. The National Insurance fees deducted from the wages for maternity
                 insurance will be reduced according to the reduced scope of
                 maternity insurance, and the equalization deductions transferred to
                 the Palestinian Authority, if levied, will be increased accordingly.
              c. Implementation procedures relating thereto will be agreed upon
                 between the Israeli National Insurance Institute and the Palestinian
                 Authority or the appropriate Palestinian social insurance institution.
       3.
              a. Israel will transfer to the Palestinian Authority, on a monthly basis,
                 the equalization deductions as defined by Israeli legislation, if
                 imposed and to the extent levied by Israel. The sums so transferred
Case 1:18-cv-02192-HG-PK      Document 84-20 Filed 03/04/22          Page 16 of 26 PageID
                                      #: 1480



                  will be used for social benefits and health services, decided upon
                  by the Palestinian Authority, for Palestinians employed in Israel and
                  for their families.
                  The equalization deductions to be so transferred will be those
                  collected after the date of the signing of the Agreement from wages
                  of Palestinians employed in Israel and from their employers.
                  These sums will not include
                      1. Payments for health services in places of employment.
                      2. 2/3 of the actual administrative costs in handling the matters
                          related to the Palestinians employed in Israel by the
                          Payments Section of the Israeli Employment Service.
      4. Israel will transfer, on a monthly basis, to a relevant pension insurance
         institution to be established by the Palestinian Authority, pension
         insurance deductions collected after the establishment of the above
         institution and the completion of the documents mentioned in para 6.
         These deductions will be collected from wages of Palestinians employed
         in Israel and their employers, according to the relevant rates set out in the
         applicable Israeli collective agreements. 2/3 of the actual administrative
         costs in handling these deductions by the Israeli Employment Service will
         be deducted from the sums transferred. The sums so transferred will be
         used for providing pension insurance for these workers. Israel will
         continue to be liable for pension rights of the Palestinian employees in
         Israel, to the extent accumulated by Israel before the entry into force of
         this para 4.
      5. Upon the receipt of the deductions, the Palestinian Authority and its
         relevant social institutions will assume full responsibility in accordance
         with the Palestinian legislation and arrangements, for pension rights and
         other social benefits of Palestinians employed in Israel, that accrue from
         the transferred deductions related to these rights and benefits.
         Consequently, Israel and its relevant social institutions and the Israeli
         employers will be released from, and will not be held liable for any
         obligations and responsibilities concerning personal claims, rights and
         benefits arising from these transferred deductions, or from the provisions
         of paras 2-4 above.
      6. Prior to the said transfers, the Palestinian Authority or its relevant
         institutions, as the case may be, will provide Israel with the documents
         required to give legal effect to their aforesaid obligations, including
         mutually agreed implementation procedures of the principles agreed upon
         in paras 3-5 above.
      7. The above arrangements concerning equalization deductions and/or
         pension deductions may be reviewed and changed by Israel if an
         authorized court in Israel will determine that the deductions or any part
         thereof must be paid to individuals, or used for individual social benefits or
         insurance in Israel, or that it is otherwise unlawful. In such a case the
         liability of the Palestinian side will not exceed the actual transferred
         deductions related to the case.
Case 1:18-cv-02192-HG-PK       Document 84-20 Filed 03/04/22           Page 17 of 26 PageID
                                       #: 1481



      8. Israel will respect any agreement reached between the Palestinian
          Authority, or an organization or trade-union representing the Palestinians
          employed in Israel, and a representative organization of employees or
          employers in Israel, concerning contributions to such organization
          according to any collective agreement.
      9.
              a. The Palestinian Authority may integrate the existing health
                  insurance scheme for Palestinians employed in Israel and their
                  families in its health insurance services. As long as this scheme
                  continues, whether integrated or separately, Israel will deduct from
                  their wages the health insurance fees ("health stamp") and will
                  transfer them to the Palestinian Authority for this purpose.
              b. The Palestinian Authority may integrate the existing health
                  insurance scheme for Palestinians who were employed in Israel
                  and are receiving pension payments through the Israeli
                  Employment Service, in its health insurance services. As long as
                  this scheme continues, whether integrated or separately, Israel will
                  deduct the necessary sum of health insurance fees ("health stamp")
                  from the equalization payments and will transfer them to the
                  Palestinian Authority for this purpose.
      10. The JEC will meet upon the request of either side and review the
          implementation of this Article and other issues concerning labor, social
          insurance and social rights.
      11. Other deductions not mentioned above, if any, will be jointly reviewed by
          the JEC. Any agreement between the two sides concerning these
          deductions will be in addition to the above provisions.
      12. Palestinians employed in Israel will have the right to bring disputes arising
          out of employee - employer relationships and other issues before the
          Israeli Labor Courts, within these courts' jurisdiction.
      13. This Article governs the future labor relations between the two sides and
          will not impair any labor rights prior to the date of signing of the
          Agreement.


    Article VIII
    AGRICULTURE

      1. There will be free movement of agricultural produce, free of customs and
         import taxes, between the two sides, subject to the following exceptions
         and arrangements.
      2. The official veterinary and plant protection services of each side will be
         responsible, within the limits of their respective jurisdiction, for controlling
         animal health, animal products and biological products, and plants and
         parts thereof, as well as their importation and exportation.
      3. The relations between the official veterinary and plant protection services
         of both sides will be based on mutuality in accordance with the following
Case 1:18-cv-02192-HG-PK       Document 84-20 Filed 03/04/22            Page 18 of 26 PageID
                                       #: 1482



         principles, which will be applied in all the areas under their respective
         jurisdiction:
             a. Israel and the Palestinian Authority will do their utmost to preserve
                 and improve the veterinary standards.
             b. Israel and the Palestinian Authority will take all measures to reach
                 equivalent and compatible standards regarding animal disease
                 control, including mass vaccination of animals and avians,
                 quarantines, "stamping out" measures and residue control
                 standards.
             c. Mutual arrangements will be made to prevent the introduction and
                 spread of plant pests and diseases, for their eradication and
                 concerning residue control standards in plant products.
             d. The official veterinary and plant protection services of Israel and the
                 Palestinian Authority will coordinate and regularly exchange
                 information regarding animal diseases, as well as plant pests and
                 diseases, and will establish a mechanism for immediate notification
                 of the outbreak of such diseases.
      4. Trade between the two sides in animals, animal products and biological
         products will be in keeping with the principles and definitions set out in the
         current edition of the OIE National Animal Health Code as updated from
         time to time (hereinafter - I.A.H.C.).
      5. Transit of livestock, animal products and biological products from one side
         through the area under the jurisdiction of the other side, should be
         conducted in a manner aimed at the prevention of diseases spreading to
         or from the consignment during its movement. For such a transit to be
         permitted, it is a prerequisite that the veterinary conditions agreed upon by
         both sides will be met in regard to importation of animals, their products
         and biological products from external markets. Therefore the parties agree
         to the following arrangements.
      6. The official veterinary services of each side have the authority to issue
         veterinary import permits for import of animals, animal products and
         biological products to the areas under its jurisdiction. In order to prevent
         the introduction of animal diseases from third parties, the following
         procedures will be adopted:
             a. The import permits will strictly follow the professional veterinary
                 conditions for similar imports to Israel as prevailing at the time of
                 their issuance. The permits will specify the country of origin and the
                 required conditions to be included in the official veterinary
                 certificates which should be issued by the veterinary authorities in
                 the countries of origin and which should accompany each
                 consignment.
                 Each side may propose a change in these conditions. The change
                 will come into force 10 days after notice to the other side, unless
                 the other side requested that the matter be brought before the
                 Veterinary Sub-Committee specified in para 14 (hereinafter - VSC).
                 If it is more stringent than the prevailing conditions - it will come into
Case 1:18-cv-02192-HG-PK      Document 84-20 Filed 03/04/22          Page 19 of 26 PageID
                                      #: 1483



                force 20 days after the request, unless both sides decide otherwise
                through the VSC, and if more lenient - it will come into force only if
                agreed upon by both sides through the VSC. However, if the
                change is urgent and needed for the protection of animal and public
                health, it will come into force immediately after notice by the other
                side and will remain in force unless and until both sides agree
                otherwise through the VSC.
             b. The official veterinary certificates will include the provisions
                regarding OIE Lists A & B Diseases as specified in the I.A.H.C.
                When the I.A.H.C. allows alternative requirements regarding the
                same disease, the most stringent one will be adopted unless
                otherwise agreed upon by the VSC.
             c. When infectious diseases which are not included in Lists A & B of
                the I.A.H.C. exist or are suspected, on scientific grounds, to exist in
                the exporting country, the necessary veterinary import conditions
                that will be required and included in the official veterinary
                certificates, will be discussed in the VSC, and in the case of
                different professional opinions, the most stringent ones will be
                adopted.
             d. The import of live vaccines will be permitted only if so decided by
                the VSC.
             e. Both sides will exchange, through the VSC, information pertaining
                to import licensing, including the evaluation of the disease situation
                and zoosanitary capability of exporting countries, which will be
                based upon official information as well as upon other available
                data.
             f. Consignments which do not conform with the above mentioned
                requirements will not be permitted to enter the areas under the
                jurisdiction of either side.
      7. Transportation of livestock and poultry and of animal products and
         biological products between areas under the jurisdiction of one side
         through areas under the jurisdiction of the other side, will be subject to the
         following technical rules:
             a. The transportation will be by vehicles which will be sealed with a
                seal of the official veterinary services of the place of origin and
                marked with a visible sign "Animal Transportation" or "Products of
                Animal Origin" in Arabic and Hebrew, in coloured and clearly visible
                letters on white background;
             b. Each consignment will be accompanied by a veterinary certificate
                issued by the official veterinary services of the place of origin,
                certifying that the animals or their products were examined and are
                free of infectious diseases and originate from a place which is not
                under quarantine or under animal movement restrictions.
      8. Transportation of livestock and poultry, animal products and biological
         products destined for Israel from the Areas and vice versa will be subject
         to veterinary permits issued by the official veterinary services of the
Case 1:18-cv-02192-HG-PK       Document 84-20 Filed 03/04/22            Page 20 of 26 PageID
                                       #: 1484



          recipient side, in keeping with the OIE standards used in international
          traffic in this field. Each such consignment will be transported by a suitable
          and marked vehicle, accompanied by a veterinary certificate in the form
          agreed upon between the official veterinary services of both sides. Such
          certificates will be issued only if permits of the recipient side are
          presented.
      9. In order to prevent the introduction of plant pests and diseases to the
          region, the following procedures will be adopted:
              a. The transportation between the Areas and Israel, of plants and
                   parts thereof (including fruits and vegetables), the control of
                   pesticide residues in them and the transportation of plant
                   propagation material and of animal feed, may be inspected without
                   delay or damage by the plant protection services of the recipient
                   side.
              b. The transportation between the Areas through Israel of plants and
                   parts thereof (including fruits and vegetables) as well as of
                   pesticides, may be required to pass a phytosanitary inspection
                   without delay or damage.
              c. The official Palestinian plant protection services have the authority
                   to issue permits for the import of plants and parts thereof as well as
                   of pesticides from external markets. The permits will be based on
                   the prevailing standards and requirements.
                   The permits will specify the required conditions to be included in the
                   official Phytosanitary Certificates (hence P.C.) based upon the
                   standards and the requirements of the International Plant
                   Protection Convention (I.P.P.C.)and those of the European and
                   Mediterranean Plant Protection Organization (E.P.P.O.) which
                   should accompany each consignment. The P.C.'s will be issued by
                   the plant protection services in the countries of origin. Dubious or
                   controversial cases will be brought before the sub-committee on
                   plant protection.
      10. The agricultural produce of both sides will have free and unrestricted
          access to each others' markets, with the temporary exception of sales
          from one side to the other side of the following items only: poultry, eggs,
          potatoes, cucumbers, tomatoes and melons. The temporary restrictions on
          these items will be gradually removed on an increasing scale until they are
          finally eliminated by 1998, as listed below:

           Year    Poultry       Eggs       Potatoes    Cucumbers    Tomatoes    Melons
                    (tons)     (millions)    (tons)       (tons)      (tons)      (tons)

           1994     5,000         30        10,000       10,000      13,000      10,000
           1995     6,000         40        13,000       13,000      16,000      13,000
           1996     7,000         50        15,000       15,000      19,000      15,000
           1997     8,000         60        17,000       17,000      22,000      17,000
           1998    unlimited   unlimited    unlimited    unlimited   unlimited   unlimited
Case 1:18-cv-02192-HG-PK      Document 84-20 Filed 03/04/22           Page 21 of 26 PageID
                                      #: 1485



      11.
          Note: The above figures refer to the combined quantities marketed from
          the West Bank and Gaza Strip to Israel and vice-versa. The Palestinian
          Authority will notify Israel the apportioning of these quantities between
          these areas concerning the quantities pertaining to the Palestinian
          produce.
      12. The Palestinians will have the right to export their agricultural produce to
          external markets without restrictions, on the basis of certificates of origin
          issued by the Palestinian Authority.
      13. Without prejudice to obligations arising out of existing international
          agreements, the two sides will refrain from importing agricultural products
          from third parties which may adversely affect the interests of each other's
          farmers.
      14. Each side will take the necessary measures in the area under its
          jurisdiction to prevent damage which may be caused by its agriculture to
          the environment of the other side.
      15. The two sides will establish sub-committees of their respective official
          veterinary and plant protection services, which will update the information
          and review issues, policies and procedures in these fields. Any changes in
          the provisions of this Article will be agreed upon by both sides.
      16. The two sides will establish a sub-committee of experts in the dairy sector
          in order to exchange information, discuss and coordinate their production
          in this sector so as to protect the interests of both sides. In principle, each
          side will produce according to its domestic consumption.


    Article IX
    INDUSTRY

      1. There will be free movement of industrial goods free of any restrictions
         including customs and import taxes between the two sides, subject to
         each side's legislation.
      2.
             a. The Palestinian side has the right to employ various methods in
                encouraging and promoting the development of the Palestinian
                industry by way of providing grants, loans, research and
                development assistance and direct-tax benefits. The Palestinian
                side has also the right to employ other methods of encouraging
                industry resorted to in Israel.
             b. Both sides will exchange information about the methods employed
                by them in the encouragement of their respective industries.
             c. Indirect tax rebates or benefits and other subsidies to sales shall
                not be allowed in trade between the two sides.
      3. Each side will do its best to avoid damage to the industry of the other side
         and will take into consideration the concerns of the other side in its
         industrial policy.
Case 1:18-cv-02192-HG-PK      Document 84-20 Filed 03/04/22          Page 22 of 26 PageID
                                      #: 1486



      4. Both sides will cooperate in the prevention of deceptive practices, trade in
         goods which may endanger health, safety and the environment and in
         goods of expired validity.
      5. Each side will take the necessary measures in the area under its
         jurisdiction to prevent damage which may be caused by its industry to the
         environment of the other side.
      6. The Palestinians will have the right to export their industrial produce to
         external markets without restrictions, on the basis of certificates of origin
         issued by the Palestinian Authority.
      7. The JEC will meet and review issues pertaining to this Article.


    Article X
    TOURISM

      1. The Palestinian Authority will establish a Palestinian Tourism Authority
         which will exercise, inter alia, the following powers in the Areas.
             a. Regulating, licensing, classifying and supervising tourist services,
                 sites and industries.
             b. Promoting foreign and domestic tourism and developing the
                 Palestinian tourist resources and sites.
             c. Supervising the marketing, promotion and information activities
                 related to foreign and domestic tourism.
      2. Each side shall, under its respective jurisdiction, protect, guard and ensure
         the maintenance and good upkeep of historical, archaeological, cultural
         and religious sites and all other tourist sites, to fit their status as well as
         their purpose as a destination for visitors.
      3. Each side will determine reasonable visiting hours and days for all tourist
         sites in order to facilitate visits at a wide variety of days and hours, taking
         into consideration religious and national holidays. Each side shall publicize
         such opening times. Meaningful changes in the opening times will take
         into consideration tourist programs already committed to.
      4. Tourist buses or any other form of tourist transport authorized by either
         side, and operated by companies registered and licensed by it, will be
         allowed to enter and proceed on their tour within the area under the
         jurisdiction of the other side, provided that such buses or other vehicles
         conform with the EEC technical specifications [I. currently adopted.] All
         such vehicles will be clearly marked as tourist vehicles.
      5. Each side will protect the environment and the ecology around the tourist
         sites under its jurisdiction. In view of the importance of beaches and
         maritime activities for tourism, each side will do its best efforts to ensure
         that development and construction on the Mediterranean coast, and
         especially at ports (such as Ashqelon or Gaza), will be planned and
         carried out in a manner that will not adversely affect the ecology,
         environment or the functions of the coastline and beaches of the other
         side.
Case 1:18-cv-02192-HG-PK      Document 84-20 Filed 03/04/22          Page 23 of 26 PageID
                                      #: 1487



      6. Tourism companies and agencies licensed by either side shall enjoy equal
         access to tourism - related facilities and amenities in border points of exit
         and entry according to the regulations of the authority operating them.
      7.
            a. Each side will license, according to its own rules and regulations,
                travel agents, tour companies, tour guides and other tourism
                businesses (hereinafter - tourism entities) within its jurisdiction.
            b. Tourism entities authorized by either side, will be allowed to
                 conduct tours that include the area under the jurisdiction of the
                 other side, provided that their authorization as well as their
                 operation will be in accordance with rules, professional
                 requirements and standards agreed upon by both sides in the sub-
                 committee mentioned in para 9.
                 Pending that agreement, existing tourism entities in the Areas
                 which are currently allowed to conduct tours that include Israel, will
                 be allowed to continue to do so, and Israeli authorized tourism
                 entities will continue to be allowed to conduct tours that include the
                 Areas.
                 In addition, any tourism entity of one side that the tourism
                 authorities of the other side will certify as fulfilling all its rules,
                 professional requirements and standards, will be allowed to
                 conduct tours that include that other side.
      8. Each side will make its own arrangement for compensation of tourists for
         bodily injury and property damages caused by political violence in the
         areas under its respective jurisdiction.
      9. The JEC or a tourism sub-committee established by it shall meet upon the
         request of either side in order to discuss the implementation of the
         provisions of this Article and resolve problems that may arise. The sub-
         committee will also discuss and consider tourist issues of benefit to both
         sides, and will promote educational programs for tourism entities of both
         sides in order to further their professional standards and their ethics.
         Complaints of one side against the behaviour of tourism entities of the
         other side will be channelled through the committee.

         Note: It is agreed that the final wording in the last sentence in para 4 will
         be adopted according to the final wording in the relevant provisions of the
         Agreement.


    Article XI
    INSURANCE ISSUES

      1. The authorities, powers and responsibilities in the insurance sphere in the
         Areas, including inter alia the licensing of insurers, insurance agents and
         the supervision of their activities, will be transferred to the Palestinian
         Authority.
Case 1:18-cv-02192-HG-PK     Document 84-20 Filed 03/04/22            Page 24 of 26 PageID
                                     #: 1488



      2.
            a. The Palestinian Authority will maintain a compulsory absolute
               liability system for road accident victims with a ceiling on the
               amount of compensation based upon the following principles:
                   1. Absolute liability for death or bodily injury to road accident
                        victims, it being immaterial whether or not there was fault on
                        the part of the driver and whether or not there was fault or
                        contributory fault on the part of others, each driver being
                        responsible for persons travelling in his vehicle and for
                        pedestrians hit by his vehicle.
                   2. Compulsory insurance for all motor vehicles, covering death
                        or bodily injury to all road accident victims, including drivers.
                   3. No cause of action in tort for death or bodily injury resulting
                        from road accidents.
                   4. The maintenance of a statutory fund (hereinafter - the Fund)
                        for compensation of road accident victims who are unable to
                        claim compensation from an insurer for the following
                        reasons:
                            i.  the driver liable for compensation is unknown;
                           ii.  the driver is not insured or his insurance does not
                                cover the liability involved; or
                          iii.  the insurer is unable to meet his liabilities.
                   5. Terms in this Article will have the same meaning as in the
                        legislation prevailing at the date of signing of the Agreement
                        concerning compulsory motor vehicle insurance and
                        compensation of road accident victims.
                   6. Any change by either side in the rules and regulations
                        regarding the implementation of the above mentioned
                        principles will require prior notice to the other side. A change
                        which might substantially affect the other side will require
                        prior notice of at least three months.
      3.
            a. Upon the signing of the Agreement the Palestinian Authority will
               establish a Fund for the Areas (hereinafter - the Palestinian Fund)
               for the purposes detailed in para 2(a)(4) above and for the
               purposes detailed below. The Palestinian Fund will assume the
               responsibilities of the statutory Road Accident Victims
               Compensation Fund in the West Bank and the Gaza Strip
               (hereinafter - the Existing Fund) regarding the Areas, according to
               the prevailing law at that time. Accordingly, the Existing Fund will
               cease to be responsible for any liability regarding accidents
               occurring in the Areas from the date of signing of the Agreement.
            b. The Existing Fund will transfer to the Palestinian Fund, after the
               assumption of the above mentioned responsibilities by it, the
               premiums paid to the Existing Fund by the insurers for vehicles
Case 1:18-cv-02192-HG-PK       Document 84-20 Filed 03/04/22           Page 25 of 26 PageID
                                       #: 1489



                registered in the Areas, pro-rata to the unexpired period of each
                insurance policy.
      4.
              a. Compulsory motor vehicle insurance policies issued by insurers
                  licensed by either side will be valid in the territories of both sides.
                  Accordingly, a vehicle registered in one side covered by such a
                  policy will not be required to have an additional insurance coverage
                  for travel in the areas under the other side's jurisdiction. These
                  insurance policies will cover all the liabilities according to the
                  legislation of the place of the accident.
              b. In order to cover part of the liabilities which may incur due to road
                  accidents in Israel by uninsured vehicles registered in the
                  Palestinian Authority, the Palestinian Fund will transfer to the Israeli
                  Fund, on a monthly basis, for each insured vehicle, an amount
                  equal to 30% of the amount paid to the Israeli Fund by an insurer
                  registered in Israel, for the sat-ne type of vehicle, for the same
                  period of insurance (which will not be less than 90 days).
      5. In cases where a victim of a road accident wishes to claim compensation
          from an insurer registered by the other side or from the Fund of the other
          side or in cases where a driver or an owner of a car is sued by a victim, by
          an insurer or by the Fund of the other side, he may nominate the Fund of
          his side as his proxy for this purpose. The Fund so nominated may
          address any relevant party from the other side directly or through the other
          sides' Fund.
      6. In the case of a road accident in which neither the registration number of
          the vehicle nor the identity of the driver are known, the Fund of the side
          which has jurisdiction over the place of the accident will compensate the
          victim, according to its own legislation.
      7. The Fund of each side will be responsible towards the victims of the other
          side for any liability of the insurers of its side regarding the compulsory
          insurance and will guarantee their liabilities.
      8. Each side will guarantee its Fund's liabilities according to this Article.
      9. The two sides will negotiate within three months from the date of the
          signing of the Agreement a cut-off agreement between the Existing Fund
          and the Palestinian Fund concerning accidents which occurred in the
          Areas prior to the date of the signing of the Agreement, whether claims
          have been reported or not. The cut-off agreement will not include
          compensation for Israeli victims involved in accidents which occurred in
          the Areas prior to the date of the signing of the Agreement.
      10.
              a. The two sides will establish immediately upon the signing of the
                  Agreement, a sub-committee of experts (hereinafter - the Sub-
                  Committee) which will deal with issues regarding the
                  implementation of this Article, including:
                      1. Procedures concerning the handling of claims of victims of
                          the one side from insurers or from the Fund of the other side;
Case 1:18-cv-02192-HG-PK       Document 84-20 Filed 03/04/22         Page 26 of 26 PageID
                                       #: 1490



                       2. Procedures concerning the transfer of the amounts between
                           the Funds of both sides as mentioned in para 4(b) above;
                       3. The details of the cut-off agreement between the Existing
                           Fund and the Palestinian Fund, as set out in para 9 above;
                       4. Any other relevant issue raised by either side.
               b. The Sub-Committee will act as a continuous committee for issues
                   regarding this Article.
               c. The two sides will exchange, through the Sub-Committee, the
                   relevant information regarding the implementation of this Article,
                   including police reports, medical information, relevant statistics,
                   premiums, etc. The two sides will provide each other with any other
                   assistance required in this regard.
       11. Each side may require the re-examination of the arrangements set out in
           this Article a year after the date of the signing of the Agreement.
       12. Insurers from both sides may apply for a license to the relevant authorities
           of the other side, according to the rules and regulations regarding foreign
           insurers in the latter side. The two sides agree not to discriminate against
           such applicants.



    Done in Paris, this twenty ninth day of April, 1994

    For the Government of Israel
    Finance Minister Avraham Shohat

    For the PLO
    Abu Ala (Ahmed Korei)
